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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

DAVID NYITRAY III, ET AL.          )
           Plaintiffs,             )
                                   )      No. 1:18-cv-847
v.                                 )
                                   )      HONORABLE PAUL L. MALONEY
VITALE’S III OF ALLEGAN, LLC,      )
ET AL.,                            )
             Defendants.           )
                                   )

                                JUDGMENT

      In accordance with the Opinion and Order entered on this date, JUDGMENT

hereby enters.

      IT IS SO ORDERED.

Date: April 19, 2019                   /s/ Paul L. Maloney
                                           Paul L. Maloney
                                           United States District Judge
